






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00415-CV






In re Michael Moon, Administrator of the Estate of Mrs. George H. Johnson a/k/a

Sammie Pearl Johnson, et al.






ORIGINAL PROCEEDING FROM BELL COUNTY





M E M O R A N D U M   O P I N I O N


		The petition for writ of mandamus is denied.  See Tex. R. App. P. 52.8(a).



																		__________________________________________


						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Waldrop 

Filed:   August 31, 2009


